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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )     Case No.:     1:21-cr-312
       v.                                        )
                                                 )
BRADLEY BENNETT,                                 )
                                                 )
       DEFENDANT.                                )
                                                 )
                                                 )
                                                 )
                                                 )

MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT BRADLEY
                                                BENNETT
COMES NOW Albert S. Watkins, Alyssa Cross and the law firm of Watkins, LLC, dba Kodner
Watkins, and, for their Motion for Leave to Withdraw as Counsel for Defendant, Bradley
Bennett, states to the Court as follows:


     1. Due to an unanticipated and unforeseen real or perceived conflict issue, Defendant has
            requested Albert S. Watkins, Kodner Watkins, and its counsel to cease serving as
            counsel for the Defendant herein.


WHEREFORE, Albert S. Watkins, Alyssa M. Cross and the law firm of Watkins, LLC dba
Kodner Watkins, request leave of Court to withdraw as counsel of record herein for Defendant
Bradley Bennett.


                                                 KODNER WATKINS, LC
                                                 By:_/s/ Albert S. Watkins________
                                                 ALBERT S. WATKINS, LC, #399625
                                                 Attorney for Defendant
                                                 1200 S. Big Bend Blvd.
                                                 St. Louis, Missouri 63117
                                                 (314) 727-9111
                                                 (314) 727-9110 Facsimile
                                                 E-Mail:albertswatkins@kwklaw.net
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                                             By:_/s/ Alyssa M. Cross_____________
                                             ALYSSA M. CROSS, ESQ. DC#1708519
                                             Attorney for Defendant
                                             1200 S. Big Bend Blvd.
                                             St. Louis, MO 63117
                                             (314) 727-9111
                                             (314) 727-9110 Facsimile
                                             across@kwklaw.net

                                CERTIFICATE OF SERVICE
       Signature above is also certification that a true and correct copy of the above and foregoing
document has been electronically issued via the Court’s electronic filing service this 20th day of
December, 2021.




So Ordered:




By__________________________________
